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                                      #:3542



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 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 9                              SOUTHERN DIVISION

10                                      )
     ENTROPIC COMMUNICATIONS, LLC, )                Case No. 2:22-cv-07775-JWH-JEM
11             Plaintiff,               )             (Lead Case)
                                        )
12         v.                           )           Case No. 2:22-cv-07959-JWH-JEM
                                        )             (Member Case)
13   DIRECTV, LLC and AT&T SERVICES, )
     INC.,                              )           Hon. David O. Carter
14             Defendants.              )           Special Master David Keyzer
     __________________________________ )
15                                      )
     ENTROPIC COMMUNICATIONS, LLC, )                SPECIAL MASTER ORDER
16             Plaintiff,               )
                                        )           No. SM-1
17         v.                           )
                                        )
18   DISH NETWORK CORPORATION,          )
     DISH NETWORK LLC, and DISH         )
19   NETWORK SERVICE LLC,               )
               Defendants.              )
20                                      )



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 1         Pursuant to the Court’s July 5, 2023 Order Appointing David Keyzer, Esq. as

 2   Special Master for Discovery Purposes (Dkt. 260) and e-mail correspondence between

 3   the Special Master and counsel for both sides on July 7, 9, and 10, 2023, the Special

 4   Master hereby SETS a preliminary conference for July 14, 2023, at 3:00 P.M. Pacific

 5   Time, by videoconference.

 6         Counsel participating in the discussion shall appear by video. Other counsel and

 7   other attendees (such as client representatives) that do not actively participate may attend

 8   either with or without video. Attendees shall mute their microphones when they are not

 9   actively participating at a particular time.

10         The parties shall confer and select a Reporter, and the cost of reporting and of

11   ordering transcripts shall be apportioned equally between Plaintiff(s) (one half) and

12   Defendant(s) (one half). The parties shall provide the Reporter’s contact information to

13   the Special Master no later than 12:00 P.M. Pacific Time on the day of the hearing.

14         The parties shall provide the Special Master and the Reporter with a list of

15   expected participants no later than 12:00 P.M. Pacific Time on the day of the hearing.

16   This list shall be submitted by e-mail and shall indicate each name together with e-mail

17   address and status as counsel, client representative, or other relevant affiliation.

18         Each party shall provide all other parties, the Court Reporter, and the Special

19   Master with an electronic copy of any demonstrative presentation slides that the party

20   intends to use during the hearing no later than 12:00 P.M. Pacific Time on the day of



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 I   the hearing. Such demonstrative presentative slides that are not designated as

 2   confidential shall also be filed in PDF fo1m on the Court's docket as an attachment to a

 3   Notice (slides designated as confidential shall be provided only by e-mail to all other

 4   parties, the Court Reporter, and the Special Master). The parties should not attempt

 5   any video screen sharing or other presentation of demonstratives during the hearing but

 6   rather should refer to the electronic copies that have been distributed by the parties prior

 7   to the hearing.

 8            All counsel who actively participate shall use a headset, earbuds, or a

 9   combination of a microphone and headphones (use of speakers is not acceptable).

IO   This will help to minimize feedback, room echoes, and other audio interruptions that

11   might otherwise be a significant impediment to Special Master in conducting the hearing,

12   to opposing counsel in responding, and to the Reporter in producing a clear record.

13            Zoom information for this hearing is as follows:

14                  Zoom Webinar ID: 861 1909 2602

15                  Password: 77757959

16            IT IS SO ORDERED.

17

18   Dated:    h-<4t 2tJ;J.3
                         f                    By:    ~
                                                    DavidKeyzer
19                                                  Special Master

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                                    SPECIAL MASTER ORDER No. SM-3 - 3
